Case 2:07-cv-02830-SHM-dkv Document 287-9 Filed 03/08/13 Page 1 of 2   PageID 10511




                             EXHIBIT 9
Case 2:07-cv-02830-SHM-dkv Document 287-9 Filed 03/08/13 Page 2 of 2    PageID 10512




          IN RE REGIONS MORGAN KEEGAN CLOSED-END FUND LITIGATION


                    SUMMARY TABLE OF LODESTARS AND EXPENSES


                   FIRM                   HOURS       LODESTAR         EXPENSES

  Labaton Sucharow LLP                     12,351.7   $5,667,160.00     $ 376,276.63

  Branstetter, Stranch & Jennings, PLLC      322.6     $188,407.50         $2,505.15

  Pearson, Simon, Warshaw & Penny, LLP       235.9     $125,113.00         $1,962.36

  TOTALS                                   12,910.2   $5,980,680.50     $380,744.14
